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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



   PRESS ROBINSON, EDGAR CAGE,
   DOROTHY NAIRNE, EDWIN RENE
   SOULE, ALICE WASHINGTON, CLEE
   EARNEST LOWE, DAVANTE LEWIS,
   MARTHA DAVIS, AMBROSE SIMS,
   NATIONAL ASSOCIATION FOR THE                        Civil Action No.3:22-cv-00211-SDD-SDJ
   ADVANCEMENT OF COLORED PEOPLE
   (“NAACP”) LOUISIANA STATE
   CONFERENCE, AND POWER COALITION
   FOR EQUITY AND JUSTICE,                             MOTION TO ENROLL
                   Plaintiffs,                         ROBERT KLEIN
                                                       PRO HAC VICE
                    v.

   KYLE ARDOIN, in his official capacity as
   Secretary of State for Louisiana.

                          Defendant.




                NOW INTO COURT, come Plaintiffs, Press Robinson, Edgar Cage,

Dorothy Nairne, Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante

Lewis, Martha Davis, Ambrose Sims, National Association for the Advancement of

Colored People (“NAACP”) Louisiana State Conference, and Power Coalition for

Equity and Justice, who respectfully move this Honorable Court pursuant to Local

Rule 83(b)(8) for an order permitting ROBERT KLEIN to appear pro hac vice as

counsel for Robinson Plaintiffs in this case.

                In support of this motion, Plaintiffs, through undersigned counsel

state as follows:

   1.   ROBERT KLEIN is an associate of the law firm of Paul, Weiss, Rifkind,
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   Wharton & Garrison LLP;

2. ROBERT KLEIN is a member of good standing in the Bar of the State of New

   York. His New York State Bar Registration Number is 5914460. There have

   been no disciplinary proceedings or criminal charges instituted against him.

   In support of this motion, attached are a Declaration and Certificate of Good

   Standing for ROBERT KLEIN.

3. The mailing address for ROBERT KLEIN is Paul, Weiss, Rifkind, Wharton &

   Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019.

4. The telephone number for ROBERT KLEIN is 212-373-3786.

5. The facsimile number for ROBERT KLEIN is (212) 492-0786.

6. The e-mail address for ROBERT KLEIN is rklein@paulweiss.com.

7. The name and office address of the Louisiana attorney with whom ROBERT

   KLEIN is associated for the purpose of this case is John Adcock, Adcock Law

   LLC, 3110 Canal Street, New Orleans, Louisiana 70119. Mr. Klein seeks

   admission pro hac vice in this case to represent Plaintiffs, Press Robinson,

   Edgar Cage, Dorothy Nairne, Edwin Rene Soule, Alice Washington, Clee

   Earnest Lowe, Davante Lewis, Martha Davis, Ambrose Sims, National

   Association for the Advancement of Colored People (“NAACP”) Louisiana

   State Conference, and Power Coalition for Equity and Justice, in association

   with Mr. Adcock, a resident attorney admitted to practice in this Court.

8. ROBERT KLEIN is familiar with the Federal Rules of Civil Procedure and

   agrees to abide by those rule and the Local Rules of this Court.
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Date: January 10, 2024             Respectfully submitted,

                                   By: /s/John Adcock
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                                   Counsel for Robinson Plaintiffs
